                    Case 3:21-cv-01231-MEM-DB Document 4 Filed 07/13/21 Page 1 of 1


                                                           Office of the Clerk


                                             UNITED STATES DISTRICT COURT
                                                             for the
                                               MIDDLE DISTRICT OF PENNSYLVANIA
                                             William J. Nealon Federal Bldg. & U.S. Courthouse
                                                        235 North Washington Avenue              Divisional Offices:
                                                               P.O. Box 1148
       Peter J. Welsh                                     Scranton, PA 18501-1148                Harrisburg:
           Clerk of Court                                                                        (717) 221-3920
                                                                                                 Williamsport:
                                                    (570) 207-5600 Fax (570) 207-5650
                                                                                                 (570) 323-6380
                                                          www.pamd.uscourts.gov


                                                           July 13, 2021

Charles Talbert
Reg. No. QA-4727
SCI-Dallas
SPECIAL MAIL-OPEN ONLY
IN PRESENCE OF INMATE
1000 Follies Road
Dallas, PA 18612

                            RE:   Talbert v. Wetzel, et al
                                  Civil Action No. 3:21-CV-1231

Dear Mr. Talbert:


Receipt is acknowledged of the document noted at the foot of this letter, subject as captioned above.

If you have simultaneously filed the proper application to proceed in forma pauperis, the matter has been
forwarded to the court for consideration. If you have not filed the proper application to proceed in forma pauperis,
an Administrative Order will be issued to you directing you to do so, together with the forms. Upon receipt of the
COMPLETED AND SIGNED forms, your case will then be forwarded to the Court for consideration.

Pro Se plaintiffs and petitioners are advised that they have an affirmative obligation to keep the court
informed of his or her current address. If the plaintiff/petitioner changes his or her address while the
lawsuit is being litigated, the plaintiff/petitioner shall immediately inform the court of the change in
writing.

                                                               Sincerely,

                                                               PETER J. WELSH
                                                               Clerk of Court


                                                               By:LP
                                                                  Pro Se Legal Assistant

[     ] Petition for Writ of Habeas Corpus                     [    X ] Complaint

[    ] Transfer                                                [        ]   Other


Enclosed:       Notice of Consent to Proceed Before a Magistrate Judge
